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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                                 )
ELECTRONIC PRIVACY INFORMATION                                   )
CENTER,                                                          )         Civil Action No: 14-1217 (RBW)
                                                                 )
                                     Plaintiff,                  )                  ECF
                                                                 )
         v.                                                      )
                                                                 )
CUSTOMS AND BORDER PROTECTION,                                   )
                                                                 )
                                     Defendant.                  )
                                                                 )

                   DEFENDANT’S MOTION FOR ENLARGEMENT
          OF TIME TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

         Defendant, by and through undersigned counsel, respectfully moves this Court pursuant

to Federal Rule of Civil Procedure 6(b)(1)(A) for an enlargement of time to, and including,

October 6, 2014, to file an answer or otherwise respond to the complaint in this action brought

under the Freedom of Information Act. Defendant submits that its initial response is due by

September 10, 2014, even though the ECF docket erroneously records the response as due by

September 4, 2014. See ECF No. 9, Notice Regarding Deadline for Defendant to Answer or

Otherwise Respond to Complaint.1 This is Defendant’s first request to extend the deadline to

answer or otherwise respond to the complaint, and the request does not affect any other pending

deadlines. Pursuant to Local Rule 7(m), undersigned counsel has conferred with the plaintiff,

through counsel, and plaintiff advised it will oppose this request. A proposed order granting this

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  Undersigned counsel acknowledges that the Court’s Standing Order for Civil Cases includes a four- day rule for
extensions of time, but submits, in the first instance, that this request does not fall within this time period. The
Office of the United States Attorney, Civil Division, did not receive a copy of the summons and complaint until
August 11, 2014, and it was not logged by the Office’s civil process clerk until August 13, 2014. Consequently, for
the reasons stated in the Notice, Defendant’s answer is not due until September 10, 2014. To the extent that the
Court finds that the four-day rule is implicated by this motion, undersigned counsel requests that the Court accept
the motion as timely. Undersigned counsel was unable to comply with the rule because he was on leave during the
week of August 25-29, 2014, and did not return until September 2, 2014. Undersigned counsel reached out to
plaintiff’s counsel in this case prior to going on leave, and received an initial response to the request while on leave.
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motion is attached. In further support of this motion, defendant relies upon the following points

and authorities.

       There is good cause to grant this motion. The summons and complaint were received by

Defendant during August 2014, and undersigned counsel had scheduled summer leave during the

initial response time. Undersigned counsel was not able to conduct an initial conference with

assigned agency counsel about the allegations in the complaint until the week of September 1,

2014. Based on this initial consultation, undersigned counsel requires additional time to discuss

the complaint with the agency and prepare an appropriate response to the complaint. These

discussions which are ongoing, will include a discussion of the agency’s projection of the time

required to provide responsive, non-exempt records to Plaintiff’s FOIA request, and the agency’s

potential need for clarification of at least one of the items in the request. Plaintiff is not

prejudiced by this request. Undersigned counsel also requires additional time due to the press of

business in other matters during the proposed extension period, including filing deadlines and

oral argument in a number of other matters in this Court and the Court of Appeals. These matters

include commencing the process of trial preparation in Bassem Youssef v. FBI, et al., Civil

Action No. 11-1362 (CKK), which was transferred to undersigned counsel to serve as trial

counsel upon the departure of the previously-assigned AUSA from the Civil Division on August

22, 2014, and Charles Light v. Karen Mills, Case No. 12-5372, set for oral argument before the

Court of Appeals on September 26, 2014.

        WHEREFORE, Defendant requests that the Court grant this motion for an enlargement
of time.




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                           Respectfully submitted,

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                           DANIEL VAN HORN, D.C. Bar # 924092
                           Chief, Civil Division

                                  /s/
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